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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA                            )
                                                    )
                                                    ) Criminal No. 18-292
        vs.                                         )
                                                    )
ROBERT BOWERS                                       )


                                     DECORUM ORDER

       To ensure that the trial and related proceedings in this matter are conducted in an orderly

manner conducive to a fair adjudication, it is ORDERED that:

                                           Voir Dire

  1. Voir dire will start on April 24, 2023, in Courtroom 8C of the Joseph F. Weis, Jr. United

      States Courthouse located at 700 Grant Street, Pittsburgh, Pennsylvania 15219. Voir dire

      will generally be held Monday through Friday from 8:30 a.m. to 12:30 p.m. and 1:00 P.M.

      to 5:00 p.m. This schedule is subject to change as conditions warrant.

  2. Following completion of voir dire, Courtroom 8C will no longer be used for any proceedings

      in this matter.

                                               Trial

  3. Trial is set to commence following the completion of voir dire in this matter.

  4. Trial will commence in Courtroom 5B of the Joseph F. Weis, Jr. United States Courthouse

      located at 700 Grant Street, Pittsburgh, Pennsylvania 15219. Trial of this matter will

      generally be held Monday through Friday from 9:00 a.m. to 4:30 p.m. There will generally

      be a lunch break from 12:30 p.m. to 1:15 p.m., as well as a mid-morning and mid-afternoon




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       break. Starting May 12, 2023, trial will not be held every other Friday. 1 Trial will also not

       be held on Court holidays. This schedule is subject to change as conditions warrant.

                                          Courthouse Information

    5. The courthouse will open at 7:00 a.m. each morning and close at 6:00 p.m. each evening.

       In order to enter the courthouse, all individuals must present valid government-issued photo

       identification, such as a driver’s license or passport.

    6. No camera, video, or audio device of any kind, including cell phones, tablets, laptop

       computers, smart watches, video cameras (including video cell phones, video tablets, and

       video cameras connected to laptop computers), or devices with similar functionality are

       permitted in the courthouse at any time except as provided in this Order. 2

    7. Attorneys who present appropriate credentials, court staff, and credentialed members of the

       media may have cell phones, tablets, laptop computers, or other digital electronic devices

       in the courthouse. 3

    8. No individual, including members of the media, shall take any photographs, make any

       recordings, or make any broadcast by any means within the Courthouse. The Clerk’s Office

       is authorized to provide a live feed transmission of the voir dire and trial proceedings to any

       overflow spaces as detailed in this Order.

    9. Members of the media must register and receive court-issued credentials in order to bring

       electronic equipment into the courthouse and gain admission into the designated media

       space.




1
        The Court plans to take every other Friday off starting May 12, 2023, whether or not voir dire has been
completed by this date.
2
        See LCvR 83.1(C).
3
        See Standing Order Misc. No. 03-451.

                                                      2
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    10. Information on how to register for media credentials, and where to pick up a media badge,

       will be available on the Western District of Pennsylvania website located at

       https://www.pawd.uscourts.gov/content/media-registration. 4

    11. Registered members of the media must wear their court-issued credentials at all times

       throughout the duration of voir dire and trial in this matter when those members are in the

       courthouse and in the designated media space.

    12. Court-issued media credentials may not be duplicated or shared with anyone.

                                          Courtroom Information

    13. Attendees in the main voir dire courtroom and the main trial courtroom (Courtrooms 8C

       and 5B, respectively) may not converse or make gestures or sounds that are disruptive to

       the proceedings or that distract jurors or witnesses. Attendees in the main voir dire

       courtroom and the main trial courtroom should remain seated until the Court recesses.

    14. No one observing the proceedings in either the main voir dire courtroom and the main trial

       courtroom, any overflow courtrooms, or the media space may wear or carry any clothing,

       buttons, or other items that carry any message or symbol addressing the issues related to

       this case that may be or become visible to the jury. Representatives of the U.S. Marshals

       Service will be the final arbiters over whether particular clothing, buttons, or other items are

       inappropriate. Any law enforcement officers who are named witnesses for the Government

       may wear their law enforcement uniform on the days of their testimony. Otherwise, law

       enforcement officers who are observing trial proceedings must wear civilian clothing if they

       are seated in the main trial courtroom.




4
         The Court makes no guarantee as to when these court-issued media credentials will be available but intends
to process applications as they are received.

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    15. No food or beverage is permitted in any courtroom, except that counsel, jurors, court staff,

       and witnesses on the witness stand may have water.

    16. No electronic devices of any kind will be permitted inside the courtrooms, except parties,

       their attorneys, and court staff, as described below in paragraphs 22 and 31, may possess

       electronic devices in either the main voir dire courtroom or the main trial courtroom.

                                           Main Voir Dire Courtroom

    17. There will be 2 seats available in the gallery of Courtroom 8C during voir dire for members

       of the media. 5

    18. There will be 1 seat available in the gallery of Courtroom 8C during voir dire for a sketch

       artist. 6

    19. Up to 5 seats will be reserved in the gallery of Courtroom 8C for victims and their families

       and those in immediate support of the Government. Up to 5 seats will be reserved in the

       gallery of Courtroom 8C for Defendant’s family and those in immediate support of the

       Defendant.

    20. The Court will provide overflow courtrooms and a media space, as described more fully

       below, that will be filled on a first-come, first-served basis, for any individual who does not

       gain entry to the main voir dire courtroom.

    21. The main voir dire courtroom will open at 8:00 a.m. and close within thirty minutes of voir

       dire ending for the day, and no later than 6:00 p.m.



5
          The Court encourages the media to enter into a press pool or come to their own agreement as to how they
wish to rotate which members of the media will be allowed in the courtroom during voir dire. If the media does not
come to an agreement, or does not wish to come to an agreement, then the Court will set up a schedule to determine
which 2 members of the media are allowed in the courtroom during voir dire on a rotating basis.
6
          The Court encourages any sketch artists to come to an agreement on how they wish to rotate which sketch
artist will be allowed in the courtroom during voir dire. If the sketch artists do not come to an agreement, or do not
wish to come to an agreement, then the Court will set up a schedule to determine which sketch artist is allowed in the
courtroom during voir dire on a rotating basis.

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    22. Parties, attorneys of record and their ancillary legal support staff, court staff, and court

        security staff may have cell phones, tablets, laptop computers, and other digital or electronic

        devices in the main voir dire courtroom only for use for trial purposes, and provided that

        any audio, video, or image recording functions on those devices are not utilized.

                                               Main Trial Courtroom

    23. There will be approximately 46 seats available in the gallery of Courtroom 5B during trial.

    24. Up to 20 seats in the first two rows of the gallery, immediately behind the Government’s

        counsel and trial team tables, will be reserved for victims and their families and those in

        immediate support of the Government. 7 Up to 8 seats in the first two rows of the gallery,

        immediately behind the Defendant’s counsel and trial team tables, will be reserved for the

        Defendant’s family and those in immediate support of the Defendant. The Court requests

        that counsel for the Government and Defendant notify it of the exact number of seats counsel

        anticipates needing for each day of trial at least 24 hours in advance of said day. If the Court

        is notified that any of the allocated seats will not be filled on a given day, then the Court

        will open those seats to members of the media, sketch artists, and the general public on a

        first-come, first-served basis.

    25. Approximately 10 seats in the gallery of Courtroom 5B will be available for the media and

        approximately 2 seats in the gallery of Courtroom 5B will be available for sketch artists, or

        in an amount as otherwise directed by the Clerk’s Office. 8




7
          The Court finds that because victims have a statutory “right not to be excluded from any such public court
proceeding” and are to be treated “with respect for [their] dignity and privacy”, see 18 U.S.C. § 3771(a)(1), (8), there
exists an overriding interest and a substantial reason for the Court to allocate 20 seats for victims and their families.
8
          Again, the Court encourages the media and any sketch artists to enter into a pool agreement or come to their
own agreement as to how they wish to rotate which members of the media and which sketch artists will be allowed in
the courtroom during trial. If the media and sketch artists do not come to an agreement, or do not wish to come to an
agreement, then the seats will be filled on a first-come, first-served basis.

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26. Any remaining seats in the gallery of Courtroom 5B will be available to the general public

   on a first-come, first-served basis.

27. Those seated in the main trial courtroom at the beginning of each day will be given a

   courtroom admission pass, good for that day only. This pass must be presented to a

   Representative of the U.S. Marshals Service to gain reentry to the courtroom and must be

   returned to a Representative of the U.S. Marshals Service when leaving for the day.

28. The Court will provide overflow courtrooms and a media space, as described more fully

   below, that will be filled on a first-come, first-served basis, for any individual who does not

   gain entry to the main trial courtroom.

29. Copies of some of the evidence admitted during trial will be posted on the Court’s website

   at https://www.pawd.uscourts.gov/cases-interest on a rolling basis.

30. The main trial courtroom will open at 8:00 a.m. and close within thirty minutes of trial

   ending for the day, and no later than 6:00 p.m.

31. Parties, attorneys of record and their ancillary legal support staff, court staff, and court

   security staff may have cell phones, tablets, laptop computers, and other digital or electronic

   devices in the main trial courtroom only for use for trial purposes, and provided that any

   audio, video, or image recording functions on those devices are not utilized.

                        Overflow Courtroom for General Public

32. Overflow seating for the general public will be available in Courtroom 6A of the Joseph F.

   Weis, Jr. United States Courthouse located at 700 Grant Street, Pittsburgh, Pennsylvania

   15219, during voir dire and trial. A live audio and video feed from voir dire and trial will

   be provided. A court-controlled closed-circuit video camera will be fixed on the Court,

   counsel, and witnesses. The camera will not focus on the potential juror or jurors.



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    33. The overflow courtroom for the general public will open at 8:00 a.m. and close within thirty

       minutes of voir dire and/or trial ending for the day, and no later than 6:00 p.m.

    34. The overflow courtroom for the general public has 75 seats. The courtroom will be filled

       on a first-come first-served basis.

    35. One or more Representatives of the U.S. Marshals Service will be present in the overflow

       courtroom for the general public to ensure compliance with the Court’s orders.

                        Overflow Courtroom for Victims and Their Families

    36. Overflow seating for victims and their families will be available in the Joseph F. Weis, Jr.

       United States Courthouse located at 700 Grant Street, Pittsburgh, Pennsylvania 15219,

       during voir dire and trial. 9 A live audio and video feed from voir dire and trial will be

       provided. A court-controlled closed-circuit video camera will be fixed on the Court,

       counsel, and witnesses. The camera will not focus on the potential juror or jurors.

                                  Media Space and Media Information

    37. Overflow seating will be available for the media in Room 1320 of the Joseph F. Weis, Jr.

       United States Courthouse located at 700 Grant Street, Pittsburgh, Pennsylvania 15219,

       during voir dire and trial. A live audio and video feed from voir dire and trial will be

       provided. A court-controlled closed-circuit video camera will be fixed on the Court,

       counsel, and witnesses. The camera will not focus on the potential juror or jurors.

    38. Only credentialed members of the media are permitted to enter the media space. 10

    39. The media space will open at 7:30 a.m. and close within thirty minutes of voir dire and/or

       trial ending for the day, and no later than 6:00 p.m.



9
        The Court finds it is reasonable to provide victims and their families a separate private viewing room given
the number of victims and the nature of the crimes. See 18 U.S.C. § 3771(a)(1), (a)(8), and (d)(2).
10
        See Paragraphs 9-10 for information on registering for court-issued media credentials.

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40. The media room has 108 seats. The room will be filled on a first-come first-served basis.

41. Electronic devices (including cell phones, laptop computers, tablets, etc., but excluding

   dedicated cameras or recording devices) will be permitted for registered media in the media

   room provided that any audio, video, or image recording functions on those devices are not

   utilized. Members of the media may not bring such devices into either the main voir dire

   courtroom or the main trial courtroom (Courtrooms 8C and 5B, respectively) or any other

   overflow courtrooms.

42. Telephone calls must be made and answered outside the media room.

43. Internet access will be provided in the media room. Information on connecting to the

   Court’s wireless internet access can be found at https://www.pawd.uscourts.gov/wireless-

   internet-access. The Court makes no guarantees as to the reliability or quality of the Wi-Fi

   connectivity. Therefore, it is recommended that media members bring a backup internet

   solution to ensure that media members are able to stay connected to their devices throughout

   the trial.

44. Registered members of the media may bring certain types of food into the courthouse and

   media room under the following conditions:

        a. Only commercially pre-packaged food items will be permitted in the courthouse;

        b. Food must be in original packaging and be unopened;

        c. Representatives of the U.S. Marshals Service will be the final arbiters over whether

                a particular type of food will be allowed in the courthouse, and individuals must

                follow their instructions;

        d. Food may only be consumed in the media room or outside the courthouse; food is

                not allowed in any courtroom or the courthouse hallways;



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             e. Members of the media are expected to clean up after themselves or they risk losing

                 food privileges;

             f. Only liquids that are bought in bulk and in original unopened packaging will be

                 permitted; and

             g. Members of the media are only permitted to bring plastic silverware into the
                 courthouse.

     45. Interviews or broadcasts of any kind are not permitted to be conducted within the

        courthouse; these must occur outside the courthouse. Members of the media are not allowed

        to congregate within the blocked off areas outside the courthouse that surround the main

        entrances.

     46. One or more Representatives of the U.S. Marshals Service will be present in the media room

        to ensure compliance with the Court’s orders.

                                                Jurors

     47. The Court will not permit any depictions or identification of individual jurors or potential

        jurors at any time during the course of the proceedings in any manner including, but not

        limited to, photographs, videos, or identifying artistic renderings by sketch artists or any

        other individuals.

     48. Any attempt to contact or interact with jurors or potential jurors; a family member of a juror

        or potential juror; or an individual living in the same household as a juror or potential juror

        in any way is strictly prohibited during voir dire and trial in this matter. 11 Conversations,

        interviews, and written communications with prospective jurors before the completion of




11
         See LCrR 24.3.

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   voir dire and with selected jurors, including alternates, before the Court discharges the jury

   at the conclusion of the proceedings, are prohibited.

49. Potential jurors who have been excused from service following completion of voir dire may

   consent to be interviewed by the media or other persons. These excused potential jurors are

   not obligated to discuss this case with anyone at voir dire or the trial’s conclusion, and once

   an excused potential juror indicates his or her desire not to discuss the trial, there should be

   no further attempts to contact the potential juror.

50. When the jury has been discharged after its final verdict, any juror may consent to be

   interviewed by the media or other persons. Jurors are not obligated to discuss this case with

   anyone at the trial’s conclusion, and once a juror indicates his or her desire not to discuss

   the trial, there should be no further attempts to contact the juror.

                                          Witnesses

51. Prospective trial witnesses shall arrive well in advance of the time they are anticipated to

   testify and proceed to Courtroom 5B. A witness exclusion order will be in effect. No

   witnesses (other than victims and their families, the Defendant’s family, and those

   specifically identified by the Court) may enter the courtroom or any overflow courtrooms

   before their testimony. Counsel for the Government and the Defendant are responsible for

   ensuring their witnesses compliance with the requirements of paragraph 51.

                                        Other Provisions

52. The United States Marshal, his Deputies, and Court Security Officers shall be responsible

   for maintaining order and decorum in the courthouse. All orders given by the United States

   Marshal, his Deputies, and Court Security Officers shall be deemed orders of this Court and

   must be complied with promptly. Failure by any person to do so may subject such person



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      to sanctions by the Court, including, but not limited to, exclusion from the courtrooms,

      media room, or the courthouse.

  53. For safety reasons, no individual may block, and no activity may take place at, any point of

      ingress or egress to the courthouse itself.

  54. As needed, updates to the media and the public will be made on the Court’s website at

      https://www.pawd.uscourts.gov/cases-interest.

  55. This Order may be modified or amended at any time by the Court without notice.

  56. Any violation of any portion of this Order may result in exclusion from the courtrooms, the

      courthouse, and the media room; revocation of media coverage privileges; or other sanction

      as deemed appropriate by the Court.



                                                           BY THE COURT:

                                                           /s/Robert J. Colville
                                                           Robert J. Colville
                                                           United States District Judge



cc: All counsel of record




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